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 9                              UNITED STATES DISTRICT COURT
10                            CENTRAL DISTRICT OF CALIFORNIA
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     Lisa Kim, et al.                            No. Case 2:18-cv-03093-JFW-ASx
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                            Plaintiff,           ORDER GRANTING MOTION
13   v.                                          FOR ATTORNEYS’ FEES,
                                                 COSTS AND INCENTIVE
14   Tinder, Inc., et al.                        AWARD
15                          Defendants.
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 1         Plaintiff Lisa Kim ("Plaintiff") has moved the Court for      attorneys' fees and
 2   costs, and a class representative incentive award as set forth in the Class Action
 3   Settlement Agreement filed with the Court on January 20, 2019 (Dkt. No. 52-1 Ex
 4   A) ("Agreement").
 5         Having considered all matters submitted to it at the hearing on the motion and
 6   otherwise, including the complete record of this action, and good cause       appearing
 7   therefore, the Court hereby finds and concludes as follows:
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 9         1.     In addition to any recovery that Plaintiff may receive under the
10                Settlement, and in recognition of the Plaintiff's efforts and risks
11                taken on behalf of the Settlement Class, the Court hereby approves the
12                payment of an incentive award to the Plaintiff Lisa Kim, in the amount
13                of $5,000.
14         2.     The Court approves the payment of attorneys' fees to Class Counsel in
15                the sum of $1,200,000, and the reimbursement of litigation expenses
16                in the sum of $12,137.51. The Court finds these fees were reasonably
17                incurred, and that the hourly rates sought by counsel are reasonable.
18         3.    This Court shall retain jurisdiction with respect to all matters related to
19                the administration and consummation of the settlement, and any and all
20                claims, asserted in, arising out of, or related to the subject matter of the
21                lawsuit, including but not limited to all matters related to the
22                Settlement and the determination of all controversies related thereto.
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24         IT IS SO ORDERED.

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26   Dated: June 19, 2019             _____________________________________
27                                          HON. JOHN F. WALTER
                                      UNITED STATES DISTRICT JUDGE
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